          Case 8-20-08046-ast        Doc 9   Filed 04/15/20     Entered 04/15/20 17:51:20




ROSEN & ASSOCIATES, P.C.
Counsel to Arvind Walia
747 Third Avenue
New York, NY 10017-2803
(212) 223-1100
Sanford P. Rosen
Paris Gyparakis

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:
                                                              Chapter 11
 ORION HEALTHCORP, INC. et al.,

                        Debtors.                              Case No. 18-71748 (AST)
 HOWARD M. EHRENBERG, AS LIQUIDATING
 TRUSTEE OF THE JOINTLY ADMINISTERED
 BANKRUPTCY ESTATES OF ORION
 HEALTHCORP, INC. AND CONSTELLATION
                                                              Adv. Proc. No. 20-08046 (AST)
 HEALTHCARE TECHNOLOGIES, INC.,

                        Plaintiff,
 v.

 JOHN JOHNSTON, DAVID ANDREW CLARK,
 MOSHE “MARK” MENACHEM FEUER, SIR
 RODNEY MALCOLM ALDRIDGE, SHAWN H.
 ZIMBERG, JOSEPH A. SEALE, TRUC TO,
 JOHN ESPOSITO, MARK BELLISIMO,
 CLIONA SOTIROPOULOS, ARVIND WALIA,
 DALE BRINKMAN, MELODIE KRALJEV, AND
 ALON P. BARAM,

                        Defendants.



                        ANSWER AND AFFIRMATIVE DEFENSES

                Defendant Arvind Walia (“Mr. Walia”), through his counsel, Rosen & Associates,

P.C., as and for his answer to the complaint dated March 13, 2020 [Adv. Proc. Doc. No. 1] (the

“Complaint”), filed by Howard M. Ehrenberg, as liquidating trustee of the jointly administered
       Case 8-20-08046-ast        Doc 9     Filed 04/15/20     Entered 04/15/20 17:51:20




bankruptcy estates of Orion HealthCorp, Inc. and Constellation Healthcare Technologies, Inc.

(“Plaintiff”), respectfully represents as follows:

               Except as expressly stated otherwise herein, Mr. Walia answers and responds only

to those allegations in the Complaint that are directed towards him, and lacks knowledge or

information sufficient to form a belief as to the truth of the allegations contained in the Complaint

that are directed towards other Defendants.

                             AS TO NATURE OF THE ACTION

               1.      Mr. Walia denies the allegations contained in paragraphs “1” through “4”

of the Complaint.

                                     AS TO THE PARTIES

               2.      Mr. Walia lacks knowledge or information sufficient to form a belief as to

the truth of the allegation contained in paragraph “5” of the Complaint.

               3.      To the extent the allegations in paragraph “6” purport to cite or summarize

publicly filed documents, Mr. Walia respectfully refers the Court to the actual cited documents for

a complete and accurate statement of their contents. Otherwise, Mr. Walia lacks knowledge or

information sufficient to form a belief as to the truth of the allegations contained in paragraph “6”

of the Complaint.

               4.      Mr. Walia lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraphs “7” through “11” of the Complaint.

               5.      To the extent the allegation in paragraph “12” purports to cite or summarize

publicly filed documents, Mr. Walia respectfully refers the Court to the actual cited documents for

a complete and accurate statement of their contents. Otherwise, Mr. Walia lacks knowledge or




                                                     2
         Case 8-20-08046-ast      Doc 9     Filed 04/15/20     Entered 04/15/20 17:51:20




information sufficient to form a belief as to the truth of the allegations contained in paragraph “12”

of the Complaint.

               6.      Mr. Walia lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraphs “13” through “17” of the Complaint.

               7.      Mr. Walia admits that he is a resident of the State of New York and denies

the remaining allegation in paragraph “18” of the Complaint.

               8.      Mr. Walia lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraphs “19” through “21” of the Complaint.

               9.      Mr. Walia denies the allegations contained in paragraph “22” of the

Complaint.

                            AS TO JURISDICTION AND VENUE

               10.     Mr. Walia neither admits nor denies the allegations contained in paragraphs

“23” through “25” of the Complaint as such allegations are legal conclusions to which no response

is required; however, Mr. Walia does not consent to the entry of final orders or judgments by this

Court.

    AS TO STATEMENT OF FACTS COMMON TO ALL CLAIMS FOR RELIEF

               11.     To the extent the allegations in paragraphs “26” and “27” purport to cite or

summarize publicly filed documents, Mr. Walia respectfully refers the Court to the actual cited

documents for a complete and accurate statement of their contents. Otherwise, Mr. Walia lacks

knowledge or information sufficient to form a belief as to the truth of the allegations contained in

paragraphs “26” and “27” of the Complaint.

               12.     Mr. Walia lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph “28” of the Complaint.

                                                  3
       Case 8-20-08046-ast        Doc 9     Filed 04/15/20     Entered 04/15/20 17:51:20




                 13.   To the extent the allegations in paragraph “29” purport to cite or summarize

publicly filed documents, Mr. Walia respectfully refers the Court to the actual cited documents for

a complete and accurate statement of their contents. Otherwise, Mr. Walia lacks knowledge or

information sufficient to form a belief as to the truth of the allegations contained in paragraph “29”

of the Complaint.

                 14.   Mr. Walia denies the allegations contained in paragraphs “30” and “31” of

the Complaint.

                 15.   To the extent the allegations in paragraph “32” purport to cite or summarize

publicly filed documents, Mr. Walia respectfully refers the Court to the actual cited documents for

a complete and accurate statement of their contents. Otherwise, except as expressly admitted, Mr.

Walia lacks knowledge or information sufficient to form a belief as to the truth of the allegations

contained in paragraph “32” of the Complaint.

                 16.   Mr. Walia lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph “33” of the Complaint.

                 17.   To the extent the allegations in paragraph “34” purport to cite or summarize

publicly filed documents, Mr. Walia respectfully refers the Court to the actual cited documents for

a complete and accurate statement of their contents. Otherwise, Mr. Walia lacks knowledge or

information sufficient to form a belief as to the truth of the allegations contained in paragraph “34”

of the Complaint.

                 18.   Mr. Walia lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph “35” of the Complaint.

                 19.   To the extent the allegations in paragraph “36” purport to cite or summarize

publicly filed documents, Mr. Walia respectfully refers the Court to the actual cited documents for

                                                  4
       Case 8-20-08046-ast        Doc 9     Filed 04/15/20     Entered 04/15/20 17:51:20




a complete and accurate statement of their contents. Otherwise, Mr. Walia lacks knowledge or

information sufficient to form a belief as to the truth of the allegations contained in paragraph “36”

of the Complaint.

               20.     To the extent the allegations in paragraphs “37” through “40” state a legal

conclusion, no responsive pleading is required. Otherwise, Mr. Walia denies the allegations

contained in paragraphs “37” through “40” of the Complaint.

               21.     To the extent the allegations in paragraphs “41” and “42” purport to cite or

summarize publicly filed documents, Mr. Walia respectfully refers the Court to the actual cited

documents for a complete and accurate statement of their contents. To the extent the allegations in

paragraphs “41” and “42” state a legal conclusion, no responsive pleading is required. Otherwise,

Mr. Walia lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraphs “41” and “42” of the Complaint.

               22.     Mr. Walia denies the allegations contained in paragraphs “43” though “45”

of the Complaint.

               23.     To the extent the allegations in paragraph “46” purport to cite or summarize

publicly filed documents, Mr. Walia respectfully refers the Court to the actual cited documents for

a complete and accurate statement of their contents. Otherwise, Mr. Walia lacks knowledge or

information sufficient to form a belief as to the truth of the allegations contained in paragraph “46”

of the Complaint.

               24.     Mr. Walia lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraphs “47” and “48 “of the Complaint.

               25.     To the extent the allegations in paragraphs “49” through “59” purport to cite

or summarize publicly available information, Mr. Walia respectfully refers the Court to the actual

                                                  5
       Case 8-20-08046-ast       Doc 9     Filed 04/15/20     Entered 04/15/20 17:51:20




documents for a complete and accurate statement of their contents. Otherwise, Mr. Walia lacks

knowledge or information sufficient to form a belief as to the truth of the allegations contained in

paragraphs “49” through “59” of the Complaint.

                 26.   Mr. Walia denies the allegations contained in paragraphs “60” and “61” of

the Complaint.

                 27.   To the extent the allegations in paragraphs “62” through “68” purport to cite

or summarize publicly available information, Mr. Walia respectfully refers the Court to the actual

documents for a complete and accurate statement of their contents. Otherwise, Mr. Walia lacks

knowledge or information sufficient to form a belief as to the truth of the allegations contained in

paragraphs “62” through “68” of the Complaint.

                 28.   Mr. Walia denies the allegations contained in paragraph “69” of the

Complaint.

                            AS TO FIRST CLAIM FOR RELIEF

                 29.   Mr. Walia repeats, re-alleges and incorporates by reference his responses to

paragraphs 1 through 69 of the Complaint as if fully set forth herein.

                 30.   To the extent the allegations in paragraphs “71” through “73” state a legal

conclusion, no responsive pleading is required. Otherwise, Mr. Walia lacks knowledge or

information sufficient to form a belief as to the truth of the allegations contained in paragraphs

“71” through “73” of the Complaint.

                 31.   Mr. Walia denies the allegations contained in paragraphs “74” through “77”

of the Complaint.




                                                 6
       Case 8-20-08046-ast       Doc 9     Filed 04/15/20     Entered 04/15/20 17:51:20




                           AS TO SECOND CLAIM FOR RELIEF

               32.    Mr. Walia repeats, re-alleges and incorporates by reference his responses to

paragraphs 1 through 77 of the Complaint as if fully set forth herein.

               33.    To the extent the allegations in paragraphs “79” through “81” state a legal

conclusion, no responsive pleading is required. Otherwise, Mr. Walia lacks knowledge or

information sufficient to form a belief as to the truth of the allegations contained in paragraphs

“79” through “81” of the Complaint.

               34.    Mr. Walia denies the allegations contained in paragraphs “82” through “86”

of the Complaint.

                            AS TO THIRD CLAIM FOR RELIEF

               35.    Mr. Walia repeats, re-alleges and incorporates by reference his responses to

paragraphs 1 through 86 of the Complaint as if fully set forth herein.

               36.    To the extent the allegations in paragraphs “88” through “91” state a legal

conclusion, no responsive pleading is required. Otherwise, Mr. Walia denies the allegations

contained in paragraphs “88” through “92” of the Complaint.

            AS AND FOR MR. WALIA’S FIRST AFFIRMATIVE DEFENSE

               37.    Plaintiff’s claims and each purported cause of action contained in the

Complaint fail to state a claim upon which relief may be granted.

           AS AND FOR MR. WALIA’S SECOND AFFIRMATIVE DEFENSE

               38.     Plaintiff’s claims are barred because of lack of personal jurisdiction over

Mr. Walia in this Court.




                                                 7
       Case 8-20-08046-ast         Doc 9    Filed 04/15/20      Entered 04/15/20 17:51:20




              AS AND FOR MR. WALIA’S THIRD AFFIRMATIVE DEFENSE

                39.     Plaintiff’s claims are barred in whole or in part because Plaintiff lacks

standing to assert the claims contained in the Complaint.

           AS AND FOR MR. WALIA’S FOURTH AFFIRMATIVE DEFENSE

                40.     Plaintiff’s claims are barred in whole or in part by the applicable statute of

limitations

              AS AND FOR MR. WALIA’S FIFTH AFFIRMATIVE DEFENSE

                41.     Plaintiff’s claims are barred in whole or in part due to insufficiency of

process.

              AS AND FOR MR. WALIA’S SIXTH AFFIRMATIVE DEFENSE

                42.     Plaintiff’s claims are barred in whole or in part due to insufficiency of

service of process.

           AS AND FOR MR. WALIA’S SEVENTH AFFIRMATIVE DEFENSE

                43.     Plaintiff’s claims must be dismissed based upon documentary evidence or

lack thereof.

              AS AND FOR MR. WALIA’S EIGHTH AFFIRMATIVE DEFENSE

                44.     Plaintiff’s claims are barred by the doctrine of waiver.

              AS AND FOR MR. WALIA’S NINTH AFFIRMATIVE DEFENSE

                45.     Plaintiff’s claims are barred in whole or in part by the doctrine of res

judicata and/or collateral estoppel.

              AS AND FOR MR. WALIA’S TENTH AFFIRMATIVE DEFENSE

                46.     Plaintiff’s claims are barred in whole or in part due to the doctrine of laches

and/or unclean hands.

                                                   8
       Case 8-20-08046-ast       Doc 9     Filed 04/15/20     Entered 04/15/20 17:51:20




         AS AND FOR MR. WALIA’S ELEVENTH AFFIRMATIVE DEFENSE

                 47.   Plaintiff’s claims are barred in whole or in part pursuant to the business

judgment rule.

                                RESERVATION OF RIGHTS

                 48.   Mr. Walia reserves all rights to amend this answer, raise any additional

defenses, cross-claims, and third-party claims not asserted herein of which they may become aware

through discovery or other investigation, as may be appropriate at a later time.

                                 *               *              *

                 WHEREFORE, Mr. Walia respectfully requests that this Court enter an order:

                 (1)   dismissing the Complaint with prejudice;
                 (2)   awarding Mr. Walia all costs and expenses incurred in defending this action
                       including attorneys’ fees as permitted by law; and
                 (3)   granting such other and further relief as this Court deems just and proper.
Dated: New York, New York
       April 15, 2020

                                                     ROSEN & ASSOCIATES, P.C.
                                                     Counsel to Arvind Walia

                                                     By: /s/ Sanford P. Rosen
                                                             Sanford P. Rosen
                                                             Paris Gyparakis
                                                     747 Third Avenue
                                                     New York, NY 10017-2803
                                                     (212) 223-1100




                                                 9
